     Case 1:20-cv-04260-JGK       Document 25      Filed 06/29/20   Page 1 of 20




                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF NEW YORK

STATE OF NEW YORK and THE BOARD OF
EDUCATION FOR THE CITY SCHOOL
DISTRICT OF THE CITY OF NEW YORK,
                                  Plaintiffs,

v.

UNITED STATES DEPARTMENT OF
EDUCATION and ELISABETH DEVOS, in
her official capacity as the Secretary of       Civil Action No. 1:20-cv-4260-JGK
Education,
                                Defendants,

FOUNDATION FOR INDIVIDUAL RIGHTS
IN EDUCATION

            [Proposed] Intervenor-Defendant.


      MEMORANDUM IN SUPPORT OF FOUNDATION FOR INDIVIDUAL
     RIGHTS IN EDUCATION’S MOTION TO INTERVENE AS DEFENDANT
          Case 1:20-cv-04260-JGK                       Document 25                Filed 06/29/20              Page 2 of 20




                                                   TABLE OF CONTENTS
                                                                                                                                     Page

TABLE OF AUTHORITIES .......................................................................................................... ii
INTRODUCTION ...........................................................................................................................1
BACKGROUND .............................................................................................................................2
ARGUMENT ...................................................................................................................................6
I.        FIRE is entitled to intervene as of right. ..............................................................................6
II.       Alternatively, FIRE should be allowed to permissively intervene. ...................................12
CONCLUSION ..............................................................................................................................14




                                                                           i
         Case 1:20-cv-04260-JGK                     Document 25              Filed 06/29/20             Page 3 of 20




                                             TABLE OF AUTHORITIES

Cases                                                                                                                        Page
Brennan v. New York City Board of Education, 260 F.3d 123 (2d Cir. 2001) ............................... 9
Brody ex rel. Sugzdinis v. Spang, 957 F.2d 1108 (3d Cir. 1992).................................................... 8
Brooks v. Flagg Bros., Inc., 63 F.R.D. 409 (S.D.N.Y. 1974) ......................................................... 9
Brumfield v. Dodd, 749 F.3d 339 (5th Cir. 2014) ..........................................................................11
Builders Ass’n of Greater Chicago v. City of Chicago, 170 F.R.D. 435 (N.D. Ill. 1996) ...............6
City of Chicago v. FEMA, 660 F.3d 980 (7th Cir. 2011).............................................................. 12
Coalition of Arizona/New Mexico Counties for Stable Econ. Growth v. Dep’t of Interior,
   100 F.3d 837 (10th Cir. 1996) .................................................................................................10
Coleman v. Cty. of Suffolk, 174 F. Supp. 3d 747, 754 (E.D.N.Y. 2016) .......................................12
Commonwealth of Pennsylvania v. President of the United States,
  888 F.3d 52 (3d Cir. 2018)................................................................................................ 10, 11
Crossroads Grassroots Policy Strategies v. FEC, 788 F.3d 312 (D.C. Cir. 2015) .................11, 12
Davis v. Monroe County Board of Education, 562 U.S. 629 (1999) ...........................................2, 3
DeJohn v. Temple Univ., 537 F.3d 301 (3d Cir. 2008) ....................................................................3
Democratic Nat’l Comm. v. Bostelmann, 2020 WL 1505640 (W.D. Wis. Mar. 28, 2020) ...........13
Disability Advocates, Inc. v. Paterson, 2009 WL 4506301 (E.D.N.Y. Nov. 23, 2009) ................13
Feller v. Brock, 802 F.2d 722 (4th Cir. 1986) .................................................................................9
Havens Realty Corp. v. Coleman, 455 U.S. 363 (1982) ..................................................................7
In re Sierra Club, 945 F.2d 776 (4th Cir. 1991) ............................................................................10
Kleissler v. United States Forest Service, 157 F.3d 964 (3d Cir. 1998) ........................................10
Kootenai Tribe of Idaho v. Veneman, 313 F.3d 1094 (9th Cir. 2002) .....................................12, 13
League of Women Voters v. Johnson, 902 F.3d 572 (6th Cir. 2018) .............................................13
McBean v. City of New York, 2007 WL 473711 (S.D.N.Y. Feb. 13, 2007) ..................................13
New York Public Interest Research Group, Inc. v. Regents of the University of New York,
   516 F.2d 350 (2d Cir. 1975)...................................................................................................7, 9
Oneida Indian Nation of Wis. v. New York, 732 F.2d 261 (2d Cir. 1984) .......................................8
Olin Corp. v. Lamorak Ins. Co., 325 F.R.D. 85 (S.D.N.Y. 2018) .................................................12
Papish v. Bd. of Curators of Univ. of Mo., 410 U.S. 667 (1973).................................................... 7
Republic of the Philippines v. Abaya, 312 F.R.D. 119 (S.D.N.Y. 2015) .........................................6


                                                                      ii
          Case 1:20-cv-04260-JGK                        Document 25                Filed 06/29/20              Page 4 of 20




Sierra Club v. Van Antwerp, 523 F. Supp. 2d 5 (D.D.C. 2007) ....................................................14
Steves & Sons, Inc. v. JELD-WEN, Inc., 323 F.R.D. 553 (E.D. Va. 2018) ...................................12
Stuart v. Huff, 706 F.3d 345 (4th Cir. 2013) ....................................................................................9
Students & Parents for Privacy v. Department of Education,
   2016 WL 3269001 (N.D. Ill. Jun. 15, 2016) ............................................................................13
Teague v. Bakker, 931 F.2d 259 (4th Cir. 1991)..............................................................................8
Trbovich v. United Mine Workers of Am., 404 U.S. 528 (1972) .....................................................9
United Guaranty Residential Ins. Co. v. Philadelphia Sav. Fund Soc’y,
   819 F.2d 473 (4th Cir. 1987) ...................................................................................................10
United States Postal Service v. Brennan, 579 F.2d 188 (2d Cir. 1978).........................................12
United States v. Hooker Chems. & Plastics Corp., 749 F.2d 968 (2d Cir. 1984) .......................6, 9
United States v. Local 683, Enterprise Ass’n, 347 F. Supp 164 (S.D.N.Y. 1972) ........................12
United States v. Yonkers Board of Education, 801 F.2d 593 (2d Cir. 1986) ...................................6
Wal–Mart Stores, Inc. v. Texas Alcoholic Beverage Comm’n, 834 F.3d 562 (5th Cir. 2016).......11
Washington Elec. Coop. v. Massachusetts Mun. Wholesale Elec. Co.,
  922 F.2d 92 (2d Cir. 1990).........................................................................................................6
Yang v. Kellner, 2020 WL 2115412 (S.D.N.Y. May 3, 2020) ......................................................12

Rules
FED. R. CIV. P. 24(a) ........................................................................................................................6
FED. R. CIV. P. 24(a)(2) ................................................................................................................... 8
FED. R. CIV. P. 24(b) ......................................................................................................................12

Administrative Materials
85 Fed. Reg. 30,026, (May 19, 2020) ..................................................................................2, 3, 4, 9

Other Authorities
Comment of the Foundation for Individual Rights in Education in Support of the Department
of Education’s Proposed Regulations on Title IX Enforcement
(Jan. 30, 2019), https://bit.ly/2Nl6qss ..........................................................................................2, 3
U.S. Dep’t of Educ., Dear Colleague Letter: Harassment and Bullying (Oct. 26, 2010),
https://bit.ly/2Bp3rg4 .......................................................................................................................2




                                                                           iii
       Case 1:20-cv-04260-JGK          Document 25        Filed 06/29/20      Page 5 of 20




                                       INTRODUCTION
       Plaintiffs ask this Court to throw out a Department of Education rule that was written to

protect free speech and due process on college campuses. The Foundation for Individual Rights in

Education (“FIRE”) is one of America’s largest and most prominent advocacy organizations

dedicated to promoting free speech and due process at colleges and universities. FIRE seeks to

intervene in this case to protect its interests and to advance a legal theory that the Department of

Education will not: that many of the rule’s protections for college students are not just reasonable

policy decisions—they are constitutionally required. FIRE satisfies the requirements for both

intervention as of right and permissive intervention, and it should be allowed to intervene to offer

a perspective on the First and Fourteenth Amendments that will otherwise not be represented. 1

                                        BACKGROUND
       On May 6, 2020, the Department of Education announced that it would issue a final rule

imposing certain legal obligations under Title IX on federal funding recipients—a category that

includes virtually all colleges and universities in the United States. One of the Final Rule’s key

provisions is its definition of conduct that qualifies as the kind of “sexual harassment” that Title

IX requires funding recipients to investigate and punish. Among other things, the Final Rule

defines “sexual harassment” to include “[u]nwelcome conduct [as] determined by a reasonable

person” that is “so severe, pervasive, and objectively offensive that it effectively denies a person

equal access to the recipient’s education program or activity.” 85 Fed. Reg. 30,026, at 30,574 (May

19, 2020). This definition is drawn from the Supreme Court’s decision in Davis v. Monroe County




       1
            Counsel for FIRE consulted counsel for the parties concerning this motion. Plaintiffs
oppose the motion, and Defendants indicated that they would take a position on the motion after
it is filed.


                                                 1
       Case 1:20-cv-04260-JGK           Document 25         Filed 06/29/20      Page 6 of 20




Board of Education, 562 U.S. 629, 650 (1999), a case where a private plaintiff sued a funding

recipient under Title IX for its deliberate indifference to peer sexual harassment.

       The Final Rule’s adoption of “the Davis standard” to define sexual harassment marks a

departure from the Department’s past guidance, which described the attributes of actionable sexual

harassment in the disjunctive (“severe, pervasive, or objectively offensive”) and said that conduct

that is “persistent” qualifies as harassment (even if it is not objectively offensive). See, e.g., U.S.

Dep’t of Educ., Dear Colleague Letter: Harassment and Bullying at 2 (Oct. 26, 2010),

https://bit.ly/2Bp3rg4. One of Plaintiffs’ principal prayers for relief is that the Court throw out the

new rule’s definition of “sexual harassment” because it differs from the broader and more

subjective definition previously used by the Department. See Amended Complaint for Declaratory

and Injunctive Relief at 92–97, Doc. 13 (June 18, 2020) (“Compl.”).

       Before the Final Rule was promulgated, FIRE submitted comments to the Department

urging it to adopt the Davis standard because any broader definition of sexual harassment would

violate the First Amendment. See Comment of the Foundation for Individual Rights in Education

in Support of the Department of Education’s Proposed Regulations on Title IX Enforcement (Jan.

30, 2019), https://bit.ly/2Nl6qss. Davis itself strongly supports this position. In response to First

Amendment concerns raised by Justice Kennedy in dissent, the Davis majority took care to define

the conduct that funding recipients must punish in a manner that allows public university

administrators “to refrain from a form of disciplinary action that would expose [them] to

constitutional . . . claims.” 562 U.S. at 649. Since Davis, courts have looked to that decision for

guidance on the scope of “sexual harassment” that public universities may prohibit consistent with

the First Amendment. See, e.g., DeJohn v. Temple Univ., 537 F.3d 301, 319 (3d Cir. 2008).




                                                  2
       Case 1:20-cv-04260-JGK            Document 25         Filed 06/29/20         Page 7 of 20




        Despite adopting the Davis standard in part because it concluded that doing so would help

to avoid “a chill on free speech and academic freedom,” 85 Fed. Reg. at 30,142, the Department

stops short of saying that the Davis standard is required by the First Amendment. That is an

important point of disagreement between the Department and FIRE: while the Department

purports to have selected one of a range of constitutionally permissible definitions of “sexual

harassment,” FIRE’s position is that the Final Rule uses a definition that could not be made broader

without violating the First Amendment. This disagreement between FIRE and the Department has

direct implications for this case. If FIRE is correct, Plaintiffs’ challenge to the Final Rule’s use of

the Davis standard must be rejected without regard to what Title IX and the Administrative

Procedure Act (“APA”) might otherwise require. In contrast, if the Department is correct, the

lawfulness of the Final Rule’s use of the Davis standard will depend on whether that standard is

consistent with the federal statutes that provide the basis for Plaintiffs’ suit.

        A similar dynamic exists with another one of the Final Rule’s major reforms: its enhanced

due process protections for students accused of sexual misconduct. In its comment, FIRE urged

the Department to adopt these protections, including notice of the allegations, a neutral

decisionmaker, live hearings, and the right to cross-examination. The Department agreed. See 85

Fed. Reg. at 30,053–54. While the Department believes the Rule’s protections are “inspired by

principles of due process,” the Department justifies the protections “independent of constitutional

due process” and stresses that the protections “remain distinct from constitutional due process.”

Id. at 30,100–01. FIRE does not agree; as applied to Plaintiffs and their public schools, many of

the Rule’s safeguards are mandated by the Due Process Clause.

        FIRE is a nonprofit membership organization with approximately 50 employees and a

student network with student members on college campuses in New York and throughout the




                                                   3
       Case 1:20-cv-04260-JGK           Document 25        Filed 06/29/20        Page 8 of 20




United States. FIRE staff work directly with college students and faculty who are subjected to

disciplinary proceedings for engaging in conduct that is protected by the First Amendment. In

instances when a disciplinary proceeding threatens to chill unpopular but constitutionally protected

speech, FIRE staff educate the accused of his or her rights and communicate with university

administrators about their obligations under the Constitution. Considerable staff time and funds

are devoted to these activities, and in recent years a significant share of these resources have been

used to counter sexual misconduct proceedings at universities that provide few procedural

protections for accused students and enforce conduct codes that use broad, amorphous definitions

of prohibited “sexual harassment.” If allowed to go into effect, the Final Rule’s use of the Davis

standard will reduce the frequency with which universities attempt to punish free speech on

sensitive issues of gender and sex and thus allow FIRE to shift its resources to addressing other

threats to protected speech on campus. FIRE does not have enough staff time or money to assist

every student who approaches it for help, and the Final Rule’s procedural protections and

definition of sexual harassment will free up resources for use in other cases.

       In addition to its involvement in individual disciplinary proceedings, FIRE also devotes

considerable staff time and money to working with its Student Network members to educate

college students about their free speech and due process rights. Members of FIRE’s Student

Network work to promote their own rights as well as the rights of other college students through

public messaging about the constitutional limits on the authority of public universities to punish

speech and how they may go about doing so, including speech on gender, sex, and other

controversial topics that are sometimes the basis for discipline under university conduct codes that

prohibit “sexual harassment.” FIRE also spends money preparing printed materials on these issues

for distribution on college campuses. If the Final Rule’s procedural protections and its definition




                                                 4
       Case 1:20-cv-04260-JGK           Document 25        Filed 06/29/20      Page 9 of 20




of “sexual harassment” are permitted to go into effect, FIRE and its student members will be able

to shift these resources and efforts to promoting free speech and due process in other contexts.

       At least one member of the FIRE Student Network is a student at a public university who

is currently the subject of an enforcement proceeding for alleged sexual misconduct. This student’s

case involves a factual dispute, no hearing on the matter has yet been scheduled, and the accused

student wants the benefit of the additional procedural protections the Final Rule would provide.

Fewer procedural safeguards will apply to this case if it is adjudicated under existing university

policy rather than in the manner that would be required under the Final Rule. This member of

FIRE’s Student Network thus stands to lose important procedural protections if the Court enjoins

enforcement of the Final Rule, even temporarily. In addition to the specific FIRE Student Network

member just described, FIRE has other student members who have been, are, or could be subject

to Title IX disciplinary proceedings.

                                          ARGUMENT
I.     FIRE is entitled to intervene as of right.
       Under Rule 24(a), a court “must permit anyone to intervene who” (1) makes a timely

motion to intervene, (2) has an “interest relating to the property or transaction that is the subject

of the action,” (3) is “so situated that disposing of the action may as a practical matter impair or

impede the movant’s ability to protect its interest,” and (4) shows that he or she is not “adequately

represent[ed]” by “existing parties.” FED. R. CIV. P. 24(a). The Second Circuit takes a flexible

approach when applying this standard, with a strong showing as to some of the requirements

making intervention as of right appropriate even if the proposed intervenor’s showing is weaker

as to others. United States v. Hooker Chems. & Plastics Corp., 749 F.2d 968, 983 (2d Cir. 1984).

All of Rule 24(a)’s requirements are satisfied here.




                                                 5
      Case 1:20-cv-04260-JGK           Document 25        Filed 06/29/20       Page 10 of 20




       First, FIRE has timely filed this motion. This case was filed on June 4, and Plaintiffs

amended their complaint on June 18. A briefing schedule for Plaintiffs’ preliminary injunction

motion has not yet been set, and if permitted to intervene FIRE will abide by any schedule this

Court establishes. With this case less than a month old and the Court having entered no substantive

rulings, there is no doubt that this motion is timely. See United States v. Yonkers Board of

Education, 801 F.2d 593, 595 (2d Cir. 1986); Republic of the Philippines v. Abaya, 312 F.R.D.

119, 123 (S.D.N.Y. 2015).

       Second, FIRE has a “direct, substantial, and legally protectable” interest in the subject of

this action. Washington Elec. Coop. v. Massachusetts Mun. Wholesale Elec. Co., 922 F.2d 92, 97

(2d Cir. 1990). As the description of FIRE’s activities provided above makes clear, FIRE has an

interest in this case that is the “mirror-image” of Plaintiffs’ interest. Builders Ass’n of Greater

Chicago v. City of Chicago, 170 F.R.D. 435, 440–41 (N.D. Ill. 1996). Plaintiffs claim they “are

being injured by the [Final Rule],” and FIRE claims that it “will be injured by its invalidation.” Id.

at 440. While Plaintiffs allege that the Final Rule will force them to divert resources from other

unrelated programs, see Compl. ¶ 14, the inverse is true for FIRE; the Final Rule will allow FIRE

to reallocate resources to other activities that would otherwise be used to resist unconstitutional

disciplinary proceedings. If Plaintiffs have Article III standing to challenge the Final Rule on a

diversion-of-resources theory, see Havens Realty Corp. v. Coleman, 455 U.S. 363 (1982), then it

necessarily follows that FIRE has a significantly protectable interest in defending it, see New York

Public Interest Research Group, Inc. v. Regents of the University of New York, 516 F.2d 350, 352

(2d Cir. 1975).

       Wholly apart from the staff time and money that FIRE will save if the Final Rule is

permitted to go into effect, FIRE has a second significantly protectable interest in this action:




                                                  6
      Case 1:20-cv-04260-JGK            Document 25         Filed 06/29/20      Page 11 of 20




safeguarding the free speech and due process rights of its members. As described above, a member

of the FIRE Student Network is currently in disciplinary proceedings at a public university and

desires to receive the benefit of the Final Rule’s procedural protections. Moreover, many other

FIRE members have been, are, or will be subject to similar disciplinary proceedings. Disciplinary

proceedings without notice of the charges, adjudication by a neutral decisionmaker, cross-

examination, and other basic protections are fundamentally unfair and risk erroneous decisions

with life-altering consequences for students. And expansive definitions of “sexual harassment” in

university conduct codes have a chilling effect on speech concerning gender, sex, and related

topics, and even speech on these subjects that many find offensive is valuable and protected by the

First Amendment. See Papish v. Bd. of Curators of Univ. of Mo., 410 U.S. 667, 670 (1973) (“[T]he

mere dissemination of ideas—no matter how offensive to good taste—on a state university campus

may not be shut off in the name alone of ‘conventions of decency.’ ”). As FIRE’s members prepare

to return to campus and navigate pending Title IX hearings and draconian “harassment” codes,

this case directly threatens their constitutional rights. Those rights qualify as an “interest” under

Rule 24(a)(2). Brody ex rel. Sugzdinis v. Spang, 957 F.2d 1108, 1125 (3d Cir. 1992).

        Third, FIRE’s significant interests and its ability to protect those interests may be impaired

“as a practical matter” by this action. FED. R. CIV. P. 24(a)(2). It is a premise of Plaintiffs’ lawsuit

that the Final Rule’s definition of “sexual harassment” will significantly narrow the types of speech

and expressive conduct that universities prohibit and punish. Plaintiffs also complain that the

Rule’s procedural protections for the accused will make it harder for them to punish students. If

these premises are correct—as they must be for Plaintiffs’ injuries to be fairly traceable to the rule

they seek to challenge—then FIRE “stand[s] to gain or lose by the direct legal operation” of this




                                                   7
      Case 1:20-cv-04260-JGK           Document 25        Filed 06/29/20        Page 12 of 20




Court’s ruling. Teague v. Bakker, 931 F.2d 259, 261 (4th Cir. 1991). For the same reasons that

Plaintiffs stand to gain from a decision in their favor, FIRE stands to lose.

       Moreover, FIRE’s interests will be affected not only by whether this Court upholds the

Final Rule but also on what grounds. The Department has not been consistent over time in its

position on the definition of “sexual harassment” for purposes of Title IX, or on the procedures

that universities must afford the accused in disciplinary proceedings. If the Court considers and

accepts FIRE’s constitutional arguments, it will establish that the Department cannot revert to the

definitions and policies it has used in the past. If, on the other hand, the Court upholds the Final

Rule as one of a range of approaches that are permissible under Title IX, the Department could in

the future abandon its current positions. Accordingly, the potential stare decisis effects of this

Court’s decision provide a basis for intervention as of right here. See Oneida Indian Nation of Wis.

v. New York, 732 F.2d 261, 265-66 (2d Cir. 1984).

       Participating in this case as an amicus would not enable FIRE to adequately protect its

interests in this case. This Court would not be required to consider FIRE’s constitutional arguments

if they were presented only in an amicus brief, and FIRE could not file motions or appeal from an

adverse judgment. In short, intervention is necessary for FIRE to safeguard its significant interests

in this case. See Feller v. Brock, 802 F.2d 722, 729 (4th Cir. 1986) (“Participation by the

intervenors as amicus curiae is not sufficient to protect against these practical impairments.

Amicus participants are not able to make motions or to appeal the final judgment in the case.”);

Brooks v. Flagg Bros., Inc., 63 F.R.D. 409, 414–15 (S.D.N.Y. 1974).

       Fourth, FIRE’s interests are not adequately represented by the existing parties. “The

requirement of [inadequate representation] is satisfied if the applicant shows that representation of

his interest may be inadequate; and the burden of making that showing should be treated as




                                                  8
       Case 1:20-cv-04260-JGK           Document 25         Filed 06/29/20     Page 13 of 20




minimal.” Trbovich v. United Mine Workers of Am., 404 U.S. 528, 538 n.10 (1972) (emphasis

added; quotation marks omitted). This standard is satisfied, for example, when interests are similar

but are not congruent, see Brennan v. New York City Board of Education, 260 F.3d 123, 132–33

(2d Cir. 2001), or where intervenors may make a “more vigorous presentation” of a part of the

argument, New York Public Interest Research Group, Inc., 516 F.2d at 352. FIRE clears this low

hurdle. 2

        FIRE’s interests differ from those of the Department. In issuing the Final Rule, the

Department explicitly sought to “balance protection from sexual harassment with protection of

freedom of speech and expression.” 85 Fed. Reg. at 30,165. FIRE, in contrast, represents interests

on one side of those scales: the free speech and due process rights of university students and

faculty. This case is therefore indistinguishable from In re Sierra Club, 945 F.2d 776 (4th Cir.

1991), where the Fourth Circuit held that South Carolina did not adequately represent the Sierra

Club because the state was responsible for representing economic as well as environmental

interests. As the Fourth Circuit has explained, “when a party to an existing suit is obligated to serve

two distinct interests, which, although related, are not identical, another with one of those interests

should be entitled to intervene.” United Guaranty Residential Ins. Co. v. Philadelphia Sav. Fund

Soc’y, 819 F.2d 473, 475 (4th Cir. 1987); see also Kleissler v. United States Forest Service, 157

F.3d 964, 972 (3d Cir. 1998); Coalition of Arizona/New Mexico Counties for Stable Econ. Growth

v. Dep’t of Interior, 100 F.3d 837, 845 (10th Cir. 1996).



        2
          Although a stronger showing of inadequate representation is sometimes required when
the proposed intervenor is aligned with a governmental litigant, no such presumption applies
where, as here, the government’s interests and those of the proposed intervenor diverge. See
Hooker Chemicals & Plastics Corp., 749 F.2d at 985; Stuart v. Huff, 706 F.3d 345, 352 (4th Cir.
2013). Even if the presumption applied, it would be overcome in this case for the reasons given in
the text.


                                                  9
      Case 1:20-cv-04260-JGK             Document 25         Filed 06/29/20       Page 14 of 20




        The conclusion that FIRE is not adequately represented follows from the Supreme Court’s

decision in Trbovich. In that case, the Secretary of Labor instituted an action to set aside an election

of officers of the United Mine Workers of America. The union member whose complaint led the

Secretary to sue sought to intervene in the action. The district court denied his motion to intervene

and the court of appeals affirmed, but the Supreme Court reversed. The Court reasoned that, while

the Secretary of Labor was charged with representing the union member’s interest in the litigation,

it also was charged with protecting the “vital public interest in assuring free and democratic union

elections that transcends the narrower interest of the complaining union member.” Trbovich, 404

U.S. at 539. Because of the presence of this additional interest and its potential to affect the

Secretary’s approach to the litigation, it was “clear” to the Court “that in this case there is sufficient

doubt about the adequacy of representation to warrant intervention.” Id. at 538.

        The Third Circuit’s decision in Commonwealth of Pennsylvania v. President of the United

States, 888 F.3d 52 (3d Cir. 2018), is also instructive. In that case, the Little Sisters of the Poor, a

group of Catholic nuns, sought to intervene to defend provisions of a Department of Health and

Human Services rule that created a religious exemption to the Affordable Care Act’s contraceptive

mandate. The district court denied the Little Sisters’ motion to intervene as of right on the grounds

that they were adequately represented by the agency, but the Third Circuit reversed. In so ruling,

the Third Circuit explained that the agency was tasked with “serving two related interests that are

not identical: accommodating the free exercise rights of religious objectors while protecting the

broader public interest in access to contraceptive methods and services.” Id. at 61. Because the

agency was charged with balancing the Little Sisters’ interest against other, competing interests

that were also at stake in the litigation, the agency could not adequately represent the Little Sisters.

The same is true here.




                                                   10
      Case 1:20-cv-04260-JGK          Document 25        Filed 06/29/20      Page 15 of 20




       Moreover, the divergence of interests between the Department and FIRE has direct

consequences for the kinds of arguments each will make. In addition to its immediate interest in

defending the Final Rule, the Department has a long-term interest in preserving the scope of its

discretion to issue rules under Title IX. Consistent with that interest, which FIRE does not share,

the Department has been careful not to say that the First Amendment required it to use the Davis

standard in its definition of “sexual harassment,” or that the Due Process Clause required it to

adopt any of the procedural protections in the Final Rule. Where, as here, proposed intervenors

seek to make “real and legitimate additional or contrary arguments” to those of the existing

litigants, that fact “is sufficient to demonstrate that the representation may be inadequate.”

Brumfield v. Dodd, 749 F.3d 339, 346 (5th Cir. 2014).

       Relatedly, because the Department’s focus is on defending the Final Rule, it “merely seeks

to defend the present suit and would accept a procedural victory.” Wal–Mart Stores, Inc. v. Texas

Alcoholic Beverage Comm’n, 834 F.3d 562, 569 (5th Cir. 2016). FIRE, by contrast, wants a

definitive ruling that accepts its constitutional arguments and binds future Departments. See, e.g.,

Crossroads Grassroots Policy Strategies v. FEC, 788 F.3d 312, 321 (D.C. Cir. 2015) (finding the

federal government an inadequate representative of the movant’s interests because the government

planned to raise a procedural standing argument).

II.    Alternatively, FIRE should be allowed to permissively intervene.
       This Court has repeatedly said that Rule 24(b) “is to be liberally construed.” Yang v.

Kellner, 2020 WL 2115412, at *1 (S.D.N.Y. May 3, 2020) (quoting Olin Corp. v. Lamorak Ins.

Co., 325 F.R.D. 85, 87 (S.D.N.Y. 2018)). Unlike Rule 24(a)(2), Rule 24(b) does not ask whether

the movant has an interest at stake in the litigation. See United States v. Local 683, Enterprise

Ass’n, 347 F. Supp 164, 166 (S.D.N.Y. 1972). And Rule 24(b) does not ask whether the existing

parties adequately represent the movant’s interests. See Coleman v. Cty. of Suffolk, 174 F. Supp.


                                                11
      Case 1:20-cv-04260-JGK          Document 25        Filed 06/29/20      Page 16 of 20




3d 747, 754 (E.D.N.Y. 2016), aff’d, 685 Fed. App’x 69 (2d Cir. 2017). Instead, “Rule 24(b) is just

about economy in litigation.” City of Chicago v. FEMA, 660 F.3d 980, 987 (7th Cir. 2011).

Specifically, it asks whether the motion is “timely,” whether intervention will “unduly delay or

prejudice” the parties, and whether the movant’s defense “shares with the main action a common

question of law or fact.” FED. R. CIV. P. 24(b). The principal consideration is “whether the

intervention will unduly delay or prejudice the adjudication of the rights of the original parties.”

United States Postal Service v. Brennan, 579 F.2d 188, 192 (2d Cir. 1978).

       The requirements for permissive intervention are satisfied here. As explained, FIRE filed

its motion in a timely fashion. And its defenses—which “squarely respond” to Plaintiffs’ claims—

obviously share common questions with the main action. Kootenai Tribe of Idaho v. Veneman,

313 F.3d 1094, 1111 (9th Cir. 2002). Nor will intervention cause any undue delay or prejudice.

“Rule 24(b) mentions only undue delay; normal delay does not require denying intervention,

because adding parties to a case almost always results in some delay.” Steves & Sons, Inc. v. JELD-

WEN, Inc., 323 F.R.D. 553, 561 (E.D. Va. 2018). Yet FIRE will not slow this case down at all,

since it will follow whatever briefing schedule governs Defendants. See Disability Advocates, Inc.

v. Paterson, 2009 WL 4506301, at *2 (E.D.N.Y. Nov. 23, 2009).

       Allowing FIRE to permissively intervene will have other benefits as well. For one, FIRE’s

participation will conserve judicial resources by reducing the need for “burdensome, as well as

inefficient” separate cases. McBean v. City of New York, 2007 WL 473711, at *3 (S.D.N.Y. Feb.

13, 2007). Before the Final Rule, FIRE regularly challenged universities’ harassment policies in

court. But if the Final Rule is upheld—particularly on the constitutional grounds that FIRE plans

to press—then many of these lawsuits can be avoided. Most universities accept federal funds, and

most universities will adopt the definition of actionable harassment adopted by the Final Rule.




                                                12
      Case 1:20-cv-04260-JGK           Document 25        Filed 06/29/20      Page 17 of 20




Because that definition complies with the First Amendment, FIRE can reduce the number of

lawsuits it files—conserving substantial resources for the judicial system as a whole. Students &

Parents for Privacy v. Department of Education, 2016 WL 3269001, at *3 (N.D. Ill. Jun. 15, 2016).

       Moreover, “the magnitude of this case is such that [FIRE’s] intervention will contribute to

the equitable resolution of this case.” Kootenai Tribe, 313 F.3d at 1111. The outcome of this case

will affect “large and varied interests” but, without FIRE’s intervention, important perspectives

will be missing. Id. For example, only FIRE represents the college students who “directly” benefit

from the Rule’s protections for free speech and due process. League of Women Voters v. Johnson,

902 F.3d 572, 579 (6th Cir. 2018). And as an advocacy organization that supports the Final Rule,

FIRE represents “the ‘mirror-image’ ” of many of the interests that Plaintiffs seek to vindicate and

is thus “uniquely qualified” to permissively intervene. Democratic Nat’l Comm. v. Bostelmann,

2020 WL 1505640, at *5 (W.D. Wis. Mar. 28, 2020) (internal quotation marks omitted).

       FIRE also has a wealth of experience and expertise that it can bring to bear on the historical,

factual, and legal questions in this case—questions that FIRE has been actively studying,

discussing, promoting, and litigating for years. As a thought leader and repeat player in this field,

FIRE’s participation as a party will meaningfully assist the Court. See, e.g., See Sierra Club v. Van

Antwerp, 523 F. Supp. 2d 5, 10 (D.D.C. 2007). FIRE has unique perspectives, unique expertise,

unique interests, and unique constitutional arguments. This Court should exercise its discretion to

allow FIRE to permissively intervene.

                                         CONCLUSION
       The Court should grant FIRE’s motion to intervene and allow it to participate in this case

as a defendant.




                                                 13
    Case 1:20-cv-04260-JGK   Document 25    Filed 06/29/20       Page 18 of 20




Dated: June 29, 2020            Respectfully submitted,

                                 /s/ Charles J. Cooper

                                Charles J. Cooper (pro hac vice motion pending)
                                Brian W. Barnes (pro hac vice motion forthcoming)
                                Nicole J. Moss (pro hac vice motion forthcoming)
                                COOPER & KIRK, PLLC
                                1523 New Hampshire Ave., NW
                                Washington, D.C. 20036
                                (202) 220-9600
                                ccooper@cooperkirk.com
                                bbarnes@cooperkirk.com
                                nmoss@cooperkirk.com

                                Counsel for Foundation for
                                Individual Rights in Education




                                    14
     Case 1:20-cv-04260-JGK        Document 25       Filed 06/29/20     Page 19 of 20




                           CERTIFICATE OF WORD COUNT
       Pursuant to Judge Koeltl’s Individual Rules of Practice II.D, the undersigned counsel

hereby certifies that the foregoing Memorandum complies with the formatting requirements in

Rule II.D and the Memorandum, including body, headings, and footnotes, contains 4,296 words

as measured by Microsoft Word.

                                                 /s/Charles J. Cooper
                                                 Charles J. Cooper
      Case 1:20-cv-04260-JGK           Document 25       Filed 06/29/20      Page 20 of 20




                                CERTIFICATE OF SERVICE

       I hereby certify that on June 29, 2020, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system. I further certify that such filing will accomplish service

upon counsel of record in this case.



                                                     s/Charles J. Cooper
                                                     Charles J. Cooper*
                                                     COOPER & KIRK, PLLC
                                                     1523 New Hampshire Avenue, NW
                                                     Washington, DC 20036
                                                     (202) 220-9600
                                                     (202) 220-9601 (fax)
                                                     ccooper@cooperkirk.com

                                                     *Pro Hac Vice application pending

                                                     Attorney for Proposed
                                                     Intervenor-Defendant
